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                Exhibit 11
        Case 5:23-cv-00032-RWS Document 59-13 Filed 12/08/23 Page 2 of 4 PageID #: 1072
3/30/23, 5:09 PM                 ESPN.com - Dallas Cowboys owner Jerry Jones paid millions to woman who filed paternity lawsuit, lawyer says




                   ESPN.com: NFL                                               [Print without images]

  Thursday, March 31, 2022
  Updated: April 1, 10:22 AM ET

  Dallas Cowboys owner Jerry Jones paid millions to woman who
  filed paternity lawsuit, lawyer says
  By Don Van Natta
  ESPN



  Jerry Jones has paid nearly $3 million to the woman who says she is his biological daughter, including her full
  tuition at SMU and a $70,000 Range Rover on her 16th birthday, and to her mother, according to the Little Rock,
  Arkansas, lawyer who delivered the payments on behalf of the Dallas Cowboys owner.

  Lawyer Don Jack told ESPN on Thursday that he made regular payments on Jones' behalf to Alexandra Davis,
  the 25-year-old congressional aide who filed a paternity lawsuit against Jones on March 3, and her mother,
  Cynthia Spencer Davis, whom Jones met in 1995 when she was a ticket-counter agent for American Airlines in
  Arkansas.

  "On numerous occasions I have made payments on behalf of Mr. Jones to Cindy and Alex Davis," Jack said in a
  statement. A longtime friend of Jones, Jack said he struck an agreement on Jones' behalf with Spencer Davis in
  1995, paying her $375,000 and providing "for monthly payments for child support which ultimately totaled over
  $2 million."

  Jones has not acknowledged that Davis is his biological daughter. Asked why he used the term "child support" in
  his statement, Jack said, "I used the term child support because that's what the agreement calls it." Asked if the
  "child support" payments indicate that Jones is Davis' father, Jack paused for five seconds before saying, "I am
  not going to answer that one. My statement speaks for itself."

  Asked why Jones paid millions to Davis and her mother if Davis was not his daughter, Jones spokesman Jim
  Wilkinson declined to comment.

  Jack and Wilkinson declined to release a copy of the agreement that set up two trusts that have paid Davis and
  her mother more than $1.3 million over the past 25 years. Two additional lump sum payments are due to Davis
  when she turns 26 and 28 years old.

  Through her attorney, Davis has asked a court to revoke the agreement struck by her mother when she was 1 and
  for Jones to be declared her father. Her lawyer, Andrew A. Bergman, has said repeatedly that she is not seeking
  money and that, after years of being shunned by Jones, his client wants only to be able to put his name on her
  birth certificate.

  But Jack said he got a far different impression of Davis' motives when he met with her and her mother for dinner
  at a Dallas steakhouse several years ago.

  "In that meeting, Alex read to me a personal letter she had drafted to Jerry Jones in which she expressed her
  dissatisfaction with what she had received and sought $20 million," Jack said. "She stated that if that amount
  was paid, she would not bother Mr. Jones again and would keep their relationship confidential."

  Neither Jack nor Wilkinson could provide proof of the letter or a date of the dinner. Wilkinson said it was "three
  or four years ago."

  "Let's see the letter," Bergman said Thursday. "And let's see the evidence that more money was paid beyond
  those agreements. And I would ask why? Is Jerry saying that money is a substitute for being a father? Do the
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https://www.espn.com/espn/print?id=33640873                                                                                                     1/3
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  millions make him a good father and do they make my client an extortionist? Don't forget the money was
  contingent on her being silent."

  Davis, an aide to U.S. Rep. Ronny Jackson (R-Texas), has declined to comment to ESPN and other media
  outlets.

  In a court filing Monday, Jones accused Davis of filing the lawsuit after attempting unsuccessfully to extort
  money from him, an assertion adamantly denied by Bergman. Wilkinson said the dinner meeting with Jack
  supports the allegation.

  "This clearly demonstrates that money has always been the ultimate goal here," Wilkinson said. "And sadly this
  is just one part of a more broad calculated and concerted effort that has been going on for some time by multiple
  people with various different agendas."

  Jack told ESPN that periodic requests from Davis and her mother for money and other expenses exceeded the
  amount that Jones agreed to pay in the trust agreement by nearly $1 million over the years.

  Those additional expenses include $33,000 for Davis' "Sweet 16" birthday party, which was featured on the
  reality TV show "Big Rich Texas." In addition, Jones paid "all of Alex's education expenses," including four
  years at SMU and one year at a private high school, Wilkinson said. Jones also paid $24,000 for Davis to take a
  trip abroad after she graduated from college and $25,000 for Davis and her mother to take a Christmas vacation
  in Paris, Wilkinson said.

  "The facts clearly show that millions of dollars have been paid," Wilkinson said, "and on top of that, a $20
  million shakedown attempt was made. I think this speaks for itself as to the motives."

  On March 10, a demand letter from a Jones attorney connects the Davis paternity lawsuit and numerous other
  recent Cowboys scandals to the ongoing contentious divorce battle between Jones' daughter, Charlotte Jones
  Anderson, and her ex-husband, Shy Anderson. The letter, obtained by ESPN, advises Anderson to preserve
  documents "to determine whether a conspiracy exists among yourself and others including, without limitation,
  certain of your lawyers." The letter to Anderson states that Jones has asked attorney Charles L. Babcock "to
  investigate whether he has potential claims against you and others for conversion [extortion] and other torts."

  The letter advises Jones' longtime son-in-law to preserve documents and other evidence in 10 categories,
  including communications he might have had with Davis and her mother. Other specified topics that lawyers
  asked Anderson to preserve include "All efforts to obtain monies from Mr. Jones directly or indirectly" and "All
  efforts to obtain information you and/or your counsel consider embarrassing to Mr. Jones."

  "The evidence preservation letter speaks for itself," Wilkinson said Thursday. The divorce lawyer for Anderson,
  Lisa G. Duffee, did not return messages from ESPN.

  Wilkinson said Bergman, the lawyer for Davis, held two meetings with Levi G. McCathern, an outside lawyer
  for Jones, and his law partner after filing the lawsuit March 3 in which Bergman allegedly demanded money to
  settle the case.

  Wilkinson quoted Bergman as saying in the first meeting, "If you want this just to go away, it's going to cost you
  Zeke or Dak money."

  "There was never a discussion about a nonmonetary resolution. Money was always part of the deal," Wilkinson
  said.

  Bergman said Thursday that he never asked for a dollar to settle the case.

  "It is absolutely false -- and they know it -- that I ever demanded money on behalf of Alex," Bergman said.
  "They said, 'What does she want?' And I said she wants to establish parentage, and Jerry can do it cooperatively
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https://www.espn.com/espn/print?id=33640873                                                                                                     2/3
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  or not. Levi said Jerry's not going to do that because of Mama Gene. Levi said Jerry said Alex will never be part
  of our family in a picture when we raise money for the Salvation Army. That's the truth."

  Wilkinson said McCathern strongly denied saying those words to Bergman.

  "Now they've changed their story yet again," Wilkinson said. "First it wasn't about money. Now it is about
  money. And now they are on three sides of a two-sided issue. They are all over the map here. Pick a story and
  stick with it. This is clownish."

  A hearing scheduled to determine if the complaint remains sealed was canceled Thursday after lawyers for Jones
  withdrew their request to have it sealed. It is not known when the lawyers will return to court.




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